Case 2:04-cV-02004-.]DB-STA Document 27 Filed 04/27/05 Page 1 of 2 Page|D 49

‘ii.

   

UNITED STA TES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEEUS .iF§ .?_"i i`~`n t t
WESTERN DIVISION

FEOE'.&:H{ F?. DE '"‘ 'O
Cl.i';f:§'rll, U.S. f_`.li $`i'.
W.{`}. QF: 'i':\!, !",".l'='~;leHfS

 

.IIMMIE LEE COX, .]R., .IU])GMENT IN A CIVIL CASE
Plaintiff,

V.

CAMBRIDGE AIR SYSTEMS, INC., CASE NO: 04-2004-B
Det`endant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND AD.]UDGED that in accordance with the Order Of Dismissal With
Prejudice entered on April 26, 2005, this cause is hereby dismissed with prejudice.

R VED:

 

{. DzNIEL BREEN
ED STATES DISTRICT COURT
11 05

Date Clerk of Court

This document entered on the docke sheet in compliance
Wim nme 58 and/or 79(3) FRCP on 513/05

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02004 Was distributed by faX, mail, or direct printing on
Apri128, 2005 to the parties listed.

éssEE

 

Jirnmie Lee CoX
3030 Parker Road
Memphis7 TN 38109

Charles W. Hill

GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

Memphis7 TN 38103

Patrick T. Burnett
GLANKLER BROWN
One Cornmerce Sq.
Ste. 1700

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

